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                                                                                             ,.-

                      IN THE UNITED STATES DISTRICT COURT
                       FOR TIlE WESTERN DISTRICT OF TEXAS 2019 OCT -2 PM                                J:
                                                                                                             37
                                 EL PASO DIVISION
                                                                                                     COURT
 UNITED STATES OF AMERICA,                   §   CRIMINAL NO. EP-1-M                     1UC       OF TEXAS
                                             §                             BY

        Plaintiff,                               INDICTMENT                                    n   F:
                                                                                                             iv

 v.                                              CT 1: 21:952(a)-Importation of a Controlled
                                                 Substance; and
                                             §
 EMMANUEL VALENZUELA RIOS,                   §
                                             §   CT 2: 21:841 (a)( 1)-Possession of a Controlled
        Defendant.                           §   Substance With Intent to Distribute.
                                             §

                                                           3:19-cr-03145-KC

       THE GRAND JURY CHARGES:

                                        COUNT ONE
                        (21 U.S.C. § 952(a) & 960(a)(1) & 960(b)(4))

       That on or about September 3, 2019, in the Western District of Texas, Defendant,

                           EMMANUEL VALENZUELA RIOS,

knowingly and intentionally imported into the United States from Mexico a controlled substance,

which offense involved a quantity of a mixture or substance containing a detectable amount of

marijuana, a Schedule I Controlled Substance, in violation of Title 21, United States Code,

Sections 952(a) and 960(a)(1) & 960(b)(4).




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                                        COUNT TWO
                            (21 U.S.C. § 841(a)(1) & 841(b)(1)(D))

        That on or about September 3, 2019, in the Western District of Texas, Defendant,

                            EMMANUEL VALENZUELA RIOS,

knowingly and intentionally possessed with intent to distribute a controlled substance, which

offense involved a quantity of a mixture or substance containing a detectable amount of marijuana,

a Schedule I Controlled Substance, in violation of Title 21, United States code, Section 841(a)(1)

& 841(b)(l)(D).

                                             A TRUE   BJ1GNAL SIGNATURE
                                                      REDACTED PURSUANT TO
                                                     EGOVERNMT ACT OF 2002
                                             FOREPERSON OF THE GRAND JURY


JOHN F. BASH
UNITED STATES ATTORNEY


BY:
      Assistant U.S.   Ay




                                                                                      Rev. 2017-07-28
